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                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore, Maryland 21201
  District Court Judge                                                                       410-962-0742



                                                    April 3, 2025

      LETTER TO COUNSEL

             Re:      Boshea v. Compass Marketing, Inc.
                      Civil No.: ELH-21-00309

      Dear Counsel:

             This will confirm our discussions during the telephone conference held on April 3, 2025.

             1. For the reasons discussed, concerning the failure of the Illinois court to appoint an
                administrator for Mr. Boshea’s Estate, and the fact that the next estate hearing is set
                for mid June of 2025, it is necessary to postpone the trial in this case, set for April 21,
                2025.

             2. Trial (jury, 5 days) has been rescheduled to August 4, 2025. Counsel are directed to
                report to Courtroom 5B at 9:30 a.m. on that date.

             3. The pretrial conference has been rescheduled to July 29, 2025, at 4:00 p.m.

             Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
      as such.
                                                                     Sincerely,

                                                                        /s/
                                                                    Ellen Lipton Hollander
                                                                    United States District Judge
